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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ASIAN AMERICANS ADVANCING
JUSTICE–ATLANTA,

                  Plaintiff,
                                          No. 1:21-cv-1333-JPB
      v.

BRAD RAFFENSPERGER, in his of-
ficial capacity as the Georgia Secre-
tary of State; REBECCA SULLIVAN,
in her official capacity as the Vice
Chair of the Georgia State Election
Board; DAVID WORLEY, in his offi-
cial capacity as a member of the
Georgia State Election Board; MAT-
THEW MASHBURN, in his official
capacity as a member of the Georgia
State Election Board; and ANH LE,
in her official capacity as a member of
the Georgia State Election Board,

                  Defendants,

REPUBLICAN NATIONAL COM-
MITTEE; NATIONAL REPUBLICAN
SENATORIAL COMMITTEE; NA-
TIONAL REPUBLICAN CONGRES-
SIONAL COMMITTEE; and GEOR-
GIA REPUBLICAN PARTY, INC.,

Proposed Intervenor-Defendants.

    PROPOSED INTERVENOR-DEFENDANTS’ MEMORANDUM
    OF LAW IN SUPPORT OF THEIR MOTION TO INTERVENE



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      This Court should grant the motion to intervene and allow Movants—

the Republican National Committee, National Republican Senatorial Commit-

tee, National Republican Congressional Committee, and Georgia Republican

Party, Inc.—to be defendants in this case. As the Democratic Party recently

observed, “political parties usually have good cause to intervene in disputes

over election rules.” Issa v. Newsom, Doc. 23 at 2, No. 2:20-cv-1044 (E.D. Cal.

June 8, 2020). That is why, in recent litigation over the election rules for 2020

and 2021, the Democratic and Republican parties were virtually always

granted intervention.* Just a few months ago, Judge Jones let the Republican

      * See, e.g., Alliance for Retired American’s v. Dunlap, No. CV-20-95 (Me.
Super. Ct. Aug. 21, 2020) (granting intervention to the RNC, NRSC, and Re-
publican Party of Maine); Mi Familia Vota v. Hobbs, Doc. 25, No. 2:20-cv-1903
(D. Ariz. June 26, 2020) (granting intervention to the RNC and NRSC); Ariz.
Democratic Party v. Hobbs, Doc. 60, No. 2:20-cv-1143-DLR (D. Ariz. June 26,
2020) (granting intervention to the RNC and Arizona Republican Party); Swen-
son v. Bostelmann, Doc. 38, No. 20-cv-459-wmc (W.D. Wis. June 23, 2020)
(granting intervention to the RNC and Republican Party of Wisconsin); Ed-
wards v. Vos, Doc. 27, No. 20-cv-340-wmc (W.D. Wis. June 23, 2020) (same);
League of Women Voters of Minn. Ed. Fund v. Simon, Doc. 52, No. 20-cv-1205
ECT/TNL (D. Minn. June 23, 2020) (granting intervention to the RNC and Re-
publican Party of Minnesota); Issa v. Newsom, 2020 WL 3074351, at *4 (E.D.
Cal. June 10, 2020) (granting intervention to the DCCC and Democratic Party
of California); Nielsen v. DeSantis, Doc. 101, No. 4:20-cv-236-RH (N.D. Fla.
May 28, 2020) (granting intervention to the RNC, NRCC, and Republican
Party of Florida); Priorities USA v. Nessel, 2020 WL 2615504, at *5 (E.D. Mich.
May 22, 2020) (granting intervention to the RNC and Republican Party of
Michigan); Thomas v. Andino, 2020 WL 2306615, at *4 (D.S.C. May 8, 2020)
(granting intervention to the South Carolina Republican Party); Corona v.
Cegavske, Order Granting Mot. to Intervene, No. CV 20-OC-644-1B (Nev. 1st
Jud. Dist. Ct. Apr. 30, 2020) (granting intervention to the RNC and Nevada



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Party intervene in another similar case. See Black Voters Matter Fund v.

Raffensperger, Doc. 42, No. 1:20-cv-4869 (N.D. Ga. Dec. 9, 2020). This Court

should do the same for two independent reasons.

      First, Movants satisfy the criteria for intervention as of right under Rule

24(a)(2). Their motion is timely; Plaintiff’s complaint was filed last week, this

litigation has yet to begin in earnest, and no party will possibly be prejudiced.

Movants also have a clear interest in protecting their candidates, voters, and

resources from Plaintiff’s attempt to invalidate Georgia’s duly-enacted election

rules. Finally, no other party adequately represents Movants’ interests. De-

fendants do not share Movants’ distinct interests in conserving their resources

and helping Republican candidates and voters.

      Second, and alternatively, the Court should grant Movants permissive

intervention under Rule 24(b). Again, this motion is timely. Movants’ defenses

share common questions of law and fact with the existing parties, and inter-

vention will result in no delay or prejudice. Incremental prejudice is especially

unlikely here—a case that will inevitably involve multiple parties because it is



Republican Party); League of Women Voters of Va. v. Va. State Bd. of Elections,
Doc. 57, No. 6:20-cv-24-NKM (W.D. Va. Apr. 29, 2020) (granting intervention
to the Republican Party of Virginia); Paher v. Cegavske, 2020 WL 2042365, at
*2 (D. Nev. Apr. 28, 2020) (granting intervention to four Democratic Party en-
tities); Democratic Nat’l Comm. v. Bostelmann, 2020 WL 1505640, at *5 (W.D.
Wis. Mar. 28, 2020) (granting intervention to the RNC and Republican Party
of Wisconsin); Gear v. Knudson, Doc. 58, No. 3:20-cv-278 (W.D. Wis. Mar. 31,
2020) (same); Lewis v. Knudson, Doc. 63, No. 3:20-cv-284 (W.D. Wis. Mar. 31,
2020) (same); see also Democratic Exec. Cmte. of Fla. v. Detzner, No. 4:18-cv-
520-MW-MJF (N.D. Fla. Nov. 9, 2018) (granting intervention to the NRSC).

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one of four challenges to SB 202 before this Court. The Court’s resolution of

these important questions will have significant implications for Movants as

they work to ensure that candidates and voters can participate in fair and or-

derly elections.

      Whether under Rule 24(a)(2) or (b), Movants should be allowed to inter-

vene as defendants. Plaintiff objects. Defendants take no position.

              INTERESTS OF PROPOSED INTERVENORS

      Movants are four political committees who support Republicans in Geor-

gia. The Republican National Committee is a national committee, as defined

by 52 U.S.C. §30101, that manages the Republican Party’s business at the na-

tional level, supports Republican candidates for public office at all levels, coor-

dinates fundraising and election strategy, and develops and promotes the na-

tional Republican platform. The National Republican Senatorial Committee is

a national political committee that works to elect Republicans to the U.S. Sen-

ate. The National Republican Congressional Committee is a national political

committee that works to elect Republicans to the U.S. House. The Georgia Re-

publican Party is a political party that works to promote Republican values

and to assist Republican candidates in obtaining election to partisan federal,

state, and local office. All three Movants have interests—their own and those

of their members—in the rules and procedures governing Georgia’s elections.

That includes Georgia’s crucial elections in 2022 for Governor, U.S. Senate,

U.S. House, and other offices.




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                                 ARGUMENT

I.    Movants are entitled to intervene as of right.

      Rule 24 is “liberally construed with all doubts resolved in favor of the

proposed intervenor.” S.D. ex rel. Barnett v. U.S. Dep’t of Interior, 317 F.3d 783,

785 (8th Cir. 2003). Under Rule 24(a)(2), this Court must grant intervention

as of right if four things are true: the motion is timely; movants have a legally

protected interest in this action; this action may impair or impede that inter-

est; and no existing party adequately represents Movants’ interests. See Chiles

v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989). All four are true here.

      A.    The motion is timely.

      This Court considers four factors in determining the timeliness of a mo-

tion to intervene: the delay after the movant knew its interest in the case; any

prejudice to the existing parties from that delay; prejudice to the movant from

denying intervention; and any unusual circumstances. Id. These factors all fa-

vor Movants.

      Movants filed this motion early—mere “days after Plaintiff[] filed the

lawsuit.” Black Voters Matter, Doc. 42 at 6, No. 1:20-cv-4869 (N.D. Ga.). Mo-

vants hardly could have moved faster than they did. Much later intervention

motions have been declared timely. See e.g., North Dakota v. Heydinger, 288

F.R.D. 423, 429 (D. Minn. 2012) (motion filed one year after answer); Idaho

Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995) (motion filed

four months after complaint); Uesugi Farms, Inc. v. Michael J. Navilio & Son,




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Inc., 2015 WL 3962007, at *2 (N.D. Ill. June 25, 2015) (motions filed 4-6 weeks

after complaint).

      Nor will Movants’ intervention prejudice the parties. This litigation has

not yet begun in earnest. Movants will comply with all deadlines that govern

the parties, will work to prevent duplicative briefing, and will coordinate with

the parties on discovery. If Movants are not allowed to intervene, however,

their interests could be irreparably harmed by an order overriding Georgia’s

election rules and undermining the integrity of Georgia’s elections. Their mo-

tion is timely.

      B.     Movants have protected interests in this action.

      Movants also have “‘direct, substantial, legally protectible interest[s] in

the proceeding’” because they are Republican Party organizations that repre-

sent candidates and voters. Chiles, 865 F.2d at 1213-14. Movants have direct

and significant interests in ensuring that the State’s election procedures are

fair and reliable. Laws like the one challenged here are designed to serve “the

integrity of [the] election process,” Eu v. San Fran. Cty. Democratic Cent.

Comm., 489 U.S. 214, 231 (1989), and the “orderly administration” of elections,

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 196 (2008) (op. of Stevens,

J.). As Judge Jones found, Movants have “a specific interest” in “promoting

their chosen candidates and protecting the integrity of Georgia’s elections.”

Black Voters Matter, Doc. 42 at 5, No. 1:20-cv-4869 (N.D. Ga.).

      Indeed, federal courts “routinely” find that political parties have inter-

ests supporting intervention in litigation regarding election rules. Issa, 2020



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WL 3074351, at *3; see, e.g., Siegel v. LePore, 234 F.3d 1163, 1169 n.1 (11th

Cir. 2001); supra n.*. Given their inherent and intense interest in elections,

usually “[n]o one disputes” that political parties “meet the impaired interest

requirement for intervention as of right.” Citizens United v. Gessler, 2014 WL

4549001, *2 (D. Col. Sept. 15, 2014). That is certainly true here, where

“changes in voting procedures could affect candidates running as Republicans

and voters who [are] members of the … Republican Party.” Ohio Democratic

Party v. Blackwell, 2005 WL 8162665, *2 (S.D. Ohio Aug. 26, 2005); see id.

(under such circumstances, “there [was] no dispute that the Ohio Republican

Party had an interest in the subject matter of this case”).

      In short, because Movants’ candidates will “actively seek [election or]

reelection in contests governed by the challenged rules,” and Movants’ voters

will vote in them, Movants have an interest in “demand[ing] adherence” to

Georgia’s rules. Shays v. FEC, 414 F.3d 76, 88 (D.C. Cir. 2005).

      C.      This action threatens to impair Movants’ interests.

      Movants are “so situated that disposing of [this] action may as a practical

matter impair or impede [their] ability to protect [their] interest.” Fed. R. Civ.

P. 24(a)(2). Movants “do not need to establish that their interests will be im-

paired,” “only that the disposition of the action ‘may’ impair or impede their

ability to protect their interests.” Brumfield v. Dodd, 749 F.3d 339, 344 (5th

Cir. 2014). This language from Rule 24 is “obviously designed to liberalize the

right to intervene in federal actions.” Nuesse v. Camp, 385 F.2d 694, 701 (D.C.

Cir. 1967).



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      Here, Movants’ interests will plainly “suffer if the Government were to

lose this case, or to settle it against [Movants’] interests.” Mausolf v. Babbitt,

85 F.3d 1295, 1302-03 (8th Cir. 1996). Not only would an adverse decision un-

dercut democratically enacted laws that protect voters and candidates (includ-

ing Movants’ members), it would change the “structur[e] of th[e] competitive

environment” and “fundamentally alter the environment in which [Movants]

defend their concrete interests (e.g. their interest in … winning [election or]

reelection).” Shays, 414 F.3d at 85-86. These changes, especially if they occur

near an election, threaten to confuse voters and undermine confidence in the

electoral process. See Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006). Movants will

be forced to spend substantial resources fighting inevitable confusion and gal-

vanizing participation in the wake of the “consequent incentive to remain away

from the polls.” Id.; accord Pavek v. Simon, 2020 WL 3183249, at *10 (D. Minn.

June 15, 2020).

      The “very purpose of intervention is to allow interested parties to air

their views so that a court may consider them before making potentially ad-

verse decisions.” Brumfield, 749 F.3d at 345. So the “best” course—and the one

that Rule 24 “implements”—is to give “all parties with a real stake in a contro-

versy … an opportunity to be heard” in this suit. Hodgson v. United Mine Work-

ers of Am., 473 F.2d 118, 130 (D.C. Cir. 1972). That includes Movants.

      D.    No party adequately represents Movants’ interests.

      Finally, Movants are not adequately represented by the existing parties.

Inadequacy is not a demanding showing. It’s satisfied “if the proposed



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intervenor shows that representation of his interest may be inadequate.”

Chiles, 865 F.2d at 1214 (cleaned up; emphasis added). In other words, “‘the

burden of making that showing should be treated as minimal,’” and the pro-

posed intervenors “‘should be allowed to intervene unless it is clear that [the

current parties] will provide adequate representation.’” Id.

      As then-Judge Garland has explained, courts “often conclude[] that gov-

ernmental entities do not adequately represent the interests of aspiring inter-

venors.” Fund for Animals, Inc. v. Norton, 322 F.3d 728, 736 (D.C. Cir. 2003).

“[T]he government’s representation of the public interest generally cannot be

assumed to be identical to the individual parochial interest of a [private mo-

vant] merely because both entities occupy the same posture in the litigation.”

Utah Ass’n of Ctys. v. Clinton, 255 F.3d 1246, 1255-56 (10th Cir. 2001). Here,

too, Defendants necessarily represent “the public interest,” rather than Mo-

vants’ “particular interest[s]” in protecting their resources and the rights of

their candidates and voters. Coal. of Ariz./N.M. Counties for Stable Economic

Growth v. DOI, 100 F.3d 837, 845 (10th Cir. 1996). While political parties also

want what’s best for the country, the reality is that they have different ideas

of what that looks like and how best to accomplish it.

      This tension is stark in the context of elections. Defendants have no in-

terest in the election of particular candidates or the mobilization of particular

voters, or the costs associated with either. Instead, state officials, acting on

behalf of all Georgia citizens and the State itself, must consider “a range of

interests likely to diverge from those of the intervenors.” Meek v. Metro. Dade



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Cty., 985 F.2d 1471, 1478 (11th Cir. 1993). Those interests include “the expense

of defending the current [laws] out of [state] coffers,” Clark v. Putnam Cty., 168

F.3d 458, 461 (11th Cir. 1999); “the social and political divisiveness of the elec-

tion issue,” Meek, 985 F.2d at 1478; “their own desires to remain politically

popular and effective leaders,” id.; and even the interests of Plaintiff, In re Si-

erra Club, 945 F.2d 776, 779-80 (4th Cir. 1991). Defendants apparently agree,

since they take no position on Movants’ intervention. See Utah Ass’n of Ctys. v.

Clinton, 255 F.3d 1246, 1255 (10th Cir. 2001) (“The government has taken no

position on the motion to intervene in this case. Its ‘silence on any intent to

defend the intervenors’ special interests is deafening.’”).

      At the very least, Movants will “serve as a vigorous and helpful supple-

ment” to Defendants and “can reasonably be expected to contribute to the in-

formed resolutions of these questions.” NRDC v. Costle, 561 F.2d 904, 912-13

(D.C. Cir. 1977). Movants affirmatively seek to preserve Georgia’s voting safe-

guards, including the bill challenged here, and bring a unique and well-in-

formed perspective to the table. Movants thus should be granted intervention

under Rule 24(a)(2).

II.   Alternatively, Movants are entitled to permissive intervention.

      Even if Movants were not entitled to intervene as of right under Rule

24(a), this Court should grant them permissive intervention under Rule 24(b).

Exercising broad judicial discretion, courts grant permissive intervention

when the movant has “a claim or defense that shares with the main action a

common question of law or fact.” Fed. R. Civ. P. 24(b); see Chiles, 865 F.2d at



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1213. Courts also consider “whether the intervention will unduly delay or prej-

udice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3);

see Chiles, 865 F.2d at 1213. Inadequate representation is not a requirement.

Black Voters Matter, Doc. 42 at 5, No. 1:20-cv-4869 (N.D. Ga.).

      The requirements of Rule 24(b) are met here. As explained, Movants filed

a timely motion. Supra I.A. And Movants will raise defenses that share many

common questions with the parties’ claims and defenses. Plaintiff alleges that

the challenged law is unconstitutional. Movants directly reject that allegation

and assert that Plaintiff’s desired relief would undermine the interests of Mo-

vants and their members. This obvious clash is why courts allow political par-

ties to intervene in defense of state election laws. See, e.g., Swenson, Doc. 38,

No. 20-cv-459-wmc (W.D. Wis.) (“[T]he [RNC and Republican Party of Wiscon-

sin] have a defense that shares common questions of law and fact with the

main action; namely, they seek to defend the challenged election laws to pro-

tect their and their members’ stated interests—among other things, interest in

the integrity of Wisconsin’s elections.”); Priorities USA, 2020 WL 2615504, at

*5 (recognizing that the permissive-intervention factors were met when the

RNC “demonstrate[d] that [it] seek[s] to defend the constitutionality of Michi-

gan’s [election] laws, the same laws which the plaintiffs allege are unconstitu-

tional”).

      Movants’ intervention will not unduly delay this litigation or prejudice

anyone. Movants swiftly moved to intervene at this case’s earliest stage, and

their participation will add no delay beyond the norm for multiparty litigation.



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Plaintiff put the legality of Georgia’s law at issue, after all, so it “can hardly be

said to be prejudiced by having to prove a lawsuit [it] chose to initiate.” Security

Ins. Co. of Hartford v. Schipporeit, Inc., 69 F.3d 1377, 1381 (7th Cir. 1995).

Movants also commit to submitting all filings in accordance with whatever

briefing schedule the Court imposes, “which is a promise” that undermines

claims of undue delay. Emerson Hall Assocs., LP v. Travelers Casualty Ins. Co.

of Am., 2016 WL 223794, *2 (W.D. Wis. Jan. 19, 2016).

      Allowing Movants to intervene will promote consistency and fairness in

the law, as well as efficiency in this case. It will allow “the Court … to profit

from a diversity of viewpoints as [Movants] illuminate the ultimate questions

posed by the parties.” Franconia Minerals (US) LLC v. United States, 319

F.R.D. 261, 268 (D. Minn. 2017). Any prejudice from granting intervention

would be no greater than the prejudice from denying intervention. See

Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 377 (1987)

(“[W]hen an order prevents a putative intervenor from becoming a party in any

respect, the order is subject to immediate review.”); Jacobson v. Detzner, 2018

WL 10509488 (N.D. Fla. July 1, 2018) (“[D]enying [Republican Party organiza-

tions’] motion [to intervene] opens the door to delaying the adjudication of this

case’s merits for months—if not longer”). Where a court has doubts, “the most

prudent and efficient course” is to allow permissive intervention. Lac Courte

Oreilles Band of Lake Superior Chippewa Indians of Wis. v. United States, 2002

WL 32350046, *3 (W.D. Wis. Nov. 20, 2002).




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                             CONCLUSION

     Movants humbly ask the Court to grant their motion and allow them to

intervene as defendants.

           This 9th day of April, 2021.
                                    Respectfully submitted,

                                   /s/ William Bradley Carver, Sr.
                                  John E. Hall, Jr.
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            CERTIFICATE OF SERVICE AND CERTIFICATE
              OF COMPLIANCE WITH LOCAL RULE 5.1
      The foregoing was prepared in Century Schoolbook font, 13-point type,
one of the font and point selections approved by the Court in N.D. Ga. L.R.

5.1(C). I hereby certify that I electronically filed the foregoing PROPOSED

INTERVENOR-DEFENDANTS’ MEMORANDUM OF LAW IN SUP-
PORT OF THEIR MOTION TO INTERVENE with the Clerk of Court using

the CM/ECF electronic filing system, which will automatically send e-mail no-

tification of such filing to the following counsel of record and serve as follows:

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